
PER CURIAM.
We have for review State v. Rodriguez, 997 So.2d 1210 (Fla. 3d DCA 2008), in which the Third District Court of Appeal cited as authority its decision in State v. Jardines, 9 So.3d 1 (Fla. 3d DCA 2008), quashed, 73 So.3d 34 (Fla.2011), cert. granted in part, — U.S.-, 132 S.Ct. 995, 181 L.Ed.2d 726 (2012). At the time the Third District issued its Rodriguez decision, Jardines was pending review in this Court. We have jurisdiction. See art. V, § 3(b)(3), Fla. Const.; Jollie v. State, 405 So.2d 418 (Fla.1981).
We stayed proceedings in this case pending our disposition of Jardines v. State, 73 So.3d 34 (Fla.2011), cert. granted in part, — U.S.-, 132 S.Ct. 995, 181 L.Ed.2d 726 (2012), in which we ultimately quashed the Third District’s underlying Jardines decision. We then issued an order directing respondent in the present case to show cause why we should not accept jurisdiction, quash the Third District’s underlying Rodriguez decision, and remand for reconsideration in light of our decision in Jardines.
Upon consideration of the response and petitioner’s reply thereto, we have determined to accept jurisdiction and grant the petition for review in the present case. The decision under review is quashed and *269this matter is remanded to the Third District for reconsideration upon application of this Court’s Jardines decision.
It is so ordered.
LEWIS, QUINCE, LABARGA, and PERRY, JJ., concur.
CANADY, C.J., and PARIENTE, and POLSTON, JJ., dissent.
